UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
AT GREENEVILLE

UNITED STATES OF AMERICA

 

JUDGE JORDAN
_ JOSHUA MAURICE FORNEY

)
)
v. ) No. 2:13-CR-040-001
oy
)
AGREED ORDER OF REVOCATION

An Amended Petition for Revocation of Supervised Release has been filed against the
defendant, Joshua Maurice Forney, and the defendant admits that he has violated the conditions of his
supervised release as specified in violation numbers 1-9 in the Amended Petition. An agreement has
been reached between the parties, recommending that Mr. Forney’s supervised release should be
revoked and that he should receive a sentence of 15 months’ imprisonment followed by no further
supervision. It is recommended that Mr. Forney be afforded all available halfway house allowed by
the. Bureau of Prisons to aid hii in his transition to the community, It is also recommended that Mr.
Forney serve his term of incarceration at FC] Edgefield in Edgefield, South Carolina,

Mr. Forney agrees (o waive his right to a hearing pursuant to Rule 32 of the Rules of Criminal
Procedure, waive his right to allocute at a revocation hearing, stipulates to the violations that can be
proven by the government by a preponderance of the evidence, and asks that the agreement of the
defendant and the government pursuant to Rule 11 of the Federal Rules of Criminal Procedure be
found to be a proper sentence, In doing so, the defendant acknowledges that he is giving up the
following rights: |

(1) The right to the assistance of counsel for his defense.
(2) The right to see and hear all the witnesses and have them cross-examined in his defense.

(3) — The right on his own part not to testify unless he chose to do so in his defense, and

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(4) The right to the issuance of subpoenas to compel the attendance of witnesses lo testify on
his behalf.

The Court has considered the Chapter Seven policy statements in the United States
Sentencing Guidelines. The violations above constitute Grade B and C violations for which an
advisory guideline range of 21 to 27 months would apply given his Criminal History Category V1.
The Court has considered these advisory guideline ranges. The Court has also considered the statutory
maximum of 18 months’ imprisonment, The Court has also considered the factors listed in 18 U.S.C.
§ 3553(a).

The Court concludes that the recommended sentence is sufficient, but not greater than
necessary, to comply with the purposes sel forth in 18 U.S.C. § 3553(a). Specilically, the Court finds
that the defendant has admitted that the proof could establish by a preponderance of the evidence thal
he committed the violations alleged in the petition for warrant for offender under supervision,

Based on the foregoing, the Court finds that the recommended sentence is sufficient, but not
greater than necessary to accomplish the purposes sel forth in 18 U.S.C. § 3$53(a) while taking into
consideration all of those factors and the Chapter Seven policy statements.

IT IS HEREBY ORDERED, therefore, that the defendant’s supervised release is hereby
revoked. The defendant is hereby sentenced to 15 months’ imprisonment followed by no further
supervision. [tis recommended that Mr. Forney be afforded all available halfway house allowed by
the Bureau of Prisons to aid him in his transition to the community. [tis also recommended that Mr,

Forney serve his term of incarceration at FCI Edgefield in Edgefield, South Carolina,

   

   

The Honorable R. /feon Jordan
United States Disttict Judge

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APPROVED FOR ENTRY:

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aor Joshua Forney
iste o- Alton Defendant
Vm. UGH? 1/0801 T fil ——lelen
Pam Higgins ¢ Nicholas Wallace a
U.S. Probation Officer Attorney for Defendant

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